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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



  MUNEER MUSTAFTA TAWAM,
                                                     Civil Action No. 17-13782(MCA)
                         Plaintiff,
  v.

  NORTH JERSEY FEDERAL CREDIT
  UNION,                                             ORDER OF DISMISSAL

                      Defendant.


        This matter having been reported settled and the Court having administratively

 terminated the action for sixty (60) days so that the parties could submit the papers necessary to

 terminate the case, see Fed. R. Civ. P. 41(a)(1)(A)(ii), L. Civ. R. 41.1, and the sixty-day time

 period having passed without the Court having received the necessary papers;

        IT IS on this 28th day of February, 2019

        ORDERED that the Clerk of the Court shall reopen the case and make a new and

 separate docket entry reading “CIVIL CASE REOPENED”; and it is further

        ORDERED that this matter be, and the same hereby is, DISMISSED WITH

 PREJUDICE, and without costs pursuant to Fed. R. Civ. P. 41(a)(2).



                                                        s/Madeline Cox Arleo
                                                       Hon. Madeline Cox Arleo
                                                       United States District Judge
